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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


BALDOMERO DURAN,					                   Appellant,


v.



THE STATE OF TEXAS,						           Appellee.

                                                                                                                      


On appeal from the 214th District Court 

of Nueces County, Texas.

                                                                                                                       
MEMORANDUM OPINION


Before Justices Rodriguez, Garza, and Vela


Memorandum Opinion by Justice Vela




	After a bench trial, appellant, Baldomero Duran, was found guilty of family violence
assault. (1)  After receiving evidence of Duran's previous felony conviction for enhancement
purposes, the trial court sentenced Duran to seven years in prison.  On appeal, Duran
complains that:  1) the record does not reflect that he executed a written waiver of his right
to a jury trial, and 2) the evidence is factually insufficient to support his conviction.  We
affirm.

I. Background

	On October 6, 2006, twelve-year-old P.M., (2) the daughter of Duran's common-law
wife, Gracie Soto, called 911 in Corpus Christi and stated that Duran was "beating my
mom."  In response to questions by the operator, P.M. stated that Duran was drunk and
had hit her mother and had tried to hit her as well.  Corpus Christi police officers Marco
Benavides and Steven Cox were dispatched to the scene.  Upon arrival, the officers found
P.M. standing in the driveway, crying.  P.M. told officers that Duran and her mother were
inside a bedroom in the house.  P.M. led the officers inside, and upon approaching the
bedroom, Officer Benavides heard Duran telling Soto to "shut up."

	Upon entering the bedroom, the officers saw Duran and Soto, who was eight
months pregnant, struggling on the bed, with Duran on top of Soto holding a beer in his
hand.  Officer Benavides told Duran to get up, and Duran responded by saying "get out of
my f'ing house."  The officers placed Duran under arrest and walked him to a patrol car,
during which time Duran told Officer Cox that he was going to "put a case" on him, and
elaborated that he did not mean a case in court, but rather a "real live case out on the
street."  Officer Cox testified that Duran was belligerent; that he could smell alcohol on
Duran's breath; and that Duran appeared to be intoxicated. 


	Officer Benavides interviewed Soto, who had a red, swollen eye and was crying. 
Benavides testified that Soto was "shaken up" and that he took a written assault statement
from her.  Soto signed the statement, which was admitted into evidence at trial.  In the
statement, Soto stated that Duran had hit her on her face and buttocks several times with
his hand and his belt, and that this had caused swelling and welts.  

	At trial, Soto recanted her statement and testified that Duran did not cause her
bodily injury on the night her daughter called 911.  Soto stated that she and Duran were
merely having an "oral argument."  She had since signed a non-prosecution affidavit, and
testified that she had gone to the district attorney's office several times to attempt to get
the charges dropped.  On cross-examination, Soto acknowledged that she knew of no
reason that the officers would lie in court.  

	Without objection, the State introduced into evidence a certified copy of a 2005 
judgment in which Duran had been convicted of assaulting Soto.  

	Duran testified that he did not hit Soto on the night of October 6, 2006, and that the
two were merely arguing when the police arrived.

II. Analysis

	By his first issue, Duran complains that his "conviction should be reversed because
the record does not reflect that [he] executed a written waiver of his right to a jury trial." 
The record, however, clearly shows that Duran executed a "Waiver of Jury Trial" on
September 20, 2007, the day of trial, and the waiver was signed by Duran, his attorney, the
prosecutor, and the trial judge.  Duran's first issue, therefore, is overruled.

	By his second issue, Duran asserts that the evidence is factually insufficient to
support his conviction.  In reviewing a factual sufficiency claim, we review the evidence in
a neutral light rather than the light most favorable to the verdict.  Neal v. State, 256 S.W.3d
264, 275 (Tex. Crim. App. 2008); Roberts v. State, 220 S.W.3d 521, 524 (Tex. Crim. App.
2007) (citing Johnson v. State, 23 S.W.3d 1, 7 (Tex. Crim. App. 2000)).  Evidence is
factually insufficient if the evidence supporting the verdict is so weak that the verdict seems
clearly wrong and manifestly unjust, or if the supporting evidence is outweighed by the
great weight and preponderance of the contrary evidence so as to render the verdict clearly
wrong and manifestly unjust.  Neal, 256 S.W.3d at 275; Roberts, 220 S.W.3d at 524 (citing
Watson v. State, 204 S.W.3d 404, 414-15 (Tex. Crim. App. 2006)).  We do not reverse for
factual insufficiency if the greater weight and preponderance of the evidence actually
favors conviction.  Neal, 256 S.W.3d at 275; Roberts, 220 S.W.3d at 524 (citing Watson,
204 S.W.3d at 417).  

	In order to prove that Duran committed the offense charged, the State had to prove
that he:

	1)	intentionally, knowingly, or recklessly;


	2)	caused bodily injury;


	3)	to Gracie Soto;


	4)	who was a member of his family or household as defined by the Texas 
Family Code; and


	5)	Duran had been previously convicted of assault against a member of his
family or household as defined by the Texas Family Code.


See Tex. Penal Code Ann. § 22.01(a)(1), (b)(2) (Vernon Supp. 2008); Gomez v. State, 183
S.W.3d 86, 89 (Tex. App.-Tyler 2005, no pet).

	Of these elements, Duran challenges only the factual sufficiency of the evidence to
support the element that he caused bodily injury to Soto.  Thus, the issue we must
determine is whether the evidence adduced at trial supporting this finding is so weak that
the verdict is clearly wrong and manifestly unjust or is outweighed by the great weight and
preponderance of the contrary evidence so as to render the verdict clearly wrong and
manifestly unjust.  See Neal, 250 S.W.3d at 275.  The evidence introduced at trial shows: 
1) that Duran and Soto had a common-law marriage and six young children together; 2)
that Soto's oldest daughter called 911 to report that Duran was beating Soto; 3) that the
daughter stated that Duran was drunk and had hit her mother and had tried to hit her too;
4) that the officers who were dispatched to the residence found Duran and Soto struggling,
that Soto was crying and  shaking  and had a swollen, red eye; 5) that Duran was
belligerent, intoxicated and made a threat to the police officer upon arrest; and 6) that
Duran had previously been convicted of beating Soto.  We cannot say that this evidence
is so weak that the verdict is clearly wrong and unjust.  Duran's second issue is overruled.

III.  Conclusion

	The trial court's judgment is affirmed.



	

							ROSE VELA	

							Justice



Do not publish.

Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and

filed this 28th day of August, 2008.
1. See Tex. Penal Code Ann. § 22.01(b)(2) (Vernon Supp. 2008); Tex. Family Code Ann. § 71.003
(Vernon 2002).
2. Duran and Soto had a common-law marriage and had six small children together.  P.M. was not
Duran's biological child.


